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                                              1
                                                  Timothy M. Ryan, Bar No. 178059
                                                  Andrew J. Mase, Bar No. 300680
                                              2   Michael W. Stoltzman Jr., Bar No. 263423
                                                  THE RYAN FIRM
                                              3
                                                  A Professional Corporation
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                                                  Telephone (949) 263-1800; Fax (949) 872-2211
                                              6
                                                  Attorneys for Defendant Seterus, Inc.
                                              7
                                              8
                                              9
                                                                         UNITED STATES DISTRICT COURT
                                             10
                                             11                       NORTHERN DISTRICT OF CALIFORNIA

                                             12
                A Professional Corporation
THE RYAN FIRM




                                             13
                                                   TIMOTHY S. BOSTWICK, an                  )       CASE NO.: 3:21-cv-02560-LB
                                             14    individual; and MICHELE L.               )       Date Action Filed: April 8, 2021
                                             15    NESSIER, an individual;                  )
                                                                                            )       Assigned for All Purposes to
                                             16                 Plaintiffs,                 )       Hon. Laurel Beeler
                                             17                                             )       Courtroom B
                                                   vs.                                      )
                                             18                                             )       DEFENDANT SETERUS, INC.’S
                                             19    SETERUS, INC., a business entity;        )       PRE-TRIAL DISCLOSURES
                                                   US BANK, N.A., a business entity;        )       PURSUANT TO FRCP 26(A)(3)
                                             20    SN SERVICING CORP, a business            )
                                             21    entity; and DOES 1 through 10,           )       Trial Date:   December 18, 2023.
                                                   inclusive,                               )
                                             22                                             )
                                             23                 Defendants.                 )
                                                                                            )
                                             24                                             )
                                             25                                             )
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                                             26                                             )
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                                                                                      Pre-Trial Disclosures
                                                    Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 2 of 8




                                              1         PLEASE TAKE NOTICE that defendant Seterus, Inc. (“Seterus” or “Defendant”)
                                              2   hereby submits the enclosed Pre-Trial Disclosures pursuant to Federal Rules of Civil
                                              3   Procedure, Rule 26(a)(3):
                                              4
                                              5               Witnesses Expected to Testify at Trial – Rule 26(a)(3)(A)(i):
                                              6       Custodian of Records for Bank of America
                                              7       Custodian of Records for the California Secretary of State
                                              8       Custodian of Records for SN Servicing
                                              9       Jordan Kahoalii
                                             10       Melissa Bostwick
                                             11       Michele Nessier
                                             12       Simon Ward Brown
                A Professional Corporation




                                                      Timothy Bostwick
THE RYAN FIRM




                                             13
                                             14
                                             15                      Deposition Designations – Rule 26(a)(3)(A)(ii):
                                             16       None
                                             17
                                             18                        Documents/Exhibits – Rule 26(a)(3)(A)(iii):
                                             19       Please see Exhibit 1, which is attached and incorporated by reference.
                                             20
                                             21
                                             22    DATED: September 28, 2023                      THE RYAN FIRM
                                                                                                  A Professional Corporation
                                             23
                                             24
                                                                                                  By:
                                             25                                                         TIMOTHY M. RYAN
                                                                                                        MICHAEL W. STOLTZMAN, JR.
                                             26
                                                                                                        Attorneys for Defendant Seterus, Inc.
                                             27
                                             28

                                                                                              2

                                                                                     Pre-Trial Disclosures
Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 3 of 8


                EXHIBIT 1




                EXHIBIT 1
Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 4 of 8


                                            V-02560-
Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 5 of 8
           Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 6 of 8
                                       EXHIBIT LIST
                     Bostwick                 v. Seterus          v-02560- LB
                                                              , C ________



          Date        Date
EXHIBIT   Offered     Admitted   Sponsoring         Limits on Use   Description and Bates Range
NUMBER    into        into       Witness
          Evidence    Evidence




45                               Ptfs.; D's                         Credit Score (H); 366-73
46                               Ptfs.; D's                         Credit Score (W); 374-81
47                               Ptfs.; D's; RJN                    NOD (SS); 382-85
48                               Ptfs.; D's; RJN                    NTS (SS); 386-87
49                               Ptfs.; D's; RJN                    NOD (SF); 388-91
50                               Ptfs.; D's; RJN                    NTS (SF); 392-93
51                               D's                                Pay History; 394-99
52                               Ptfs.; D's                         Tax Returns (2014); 400-47
53                               Ptfs.; RJN                         1st BK Dec of Income; 448
54                               Ptfs.; RJN                         1st BK Amend Stat; 449-55
55                               Ptfs.; RJN                         1st Bk Amend Sch; 456-62
56                               Ptfs.; RJN                         2nd BK Report 1; 463-84
57                               Ptfs.; RJN                         2nd BK Stat Conf; 485-90
58                               Ptfs.; RJN                         2nd BK Report 2; 490-522
59                               Ptfs.; RJN                         2nd BK Report 3; 523-46
60                               Ptfs.; RJN                         2nd BK Report 4; 547-71
61                               Ptfs.; RJN                         2nd BK Report 5; 571-94
62                               Ptfs.; RJN                         2nd BK Report 6; 595-619
63                               Ptfs.; SoS; RJN                    AMI, Inc. Reg.; 620
64                               Ptfs.; SoS; RJN                    AMI, LLC Cert.; 621
65                               Ptfs.; D's                         AMI Return (2012); 622-26
66                               Ptfs.; D's                         AMI Return (2013); 627-31
           Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 7 of 8
                                      EXHIBIT LIST
                     Bostwick                 v. Seterus           v-02560- LB
                                                               , C ________



          Date        Date
EXHIBIT   Offered     Admitted   Sponsoring          Limits on Use   Description and Bates Range
NUMBER    into        into       Witness
          Evidence    Evidence



67                               Ptfs.; D's                          Resp to SN SROGS (W); 632-70

68                               Ptfs.; D's                          Resp to SN SROGS (H); 671-709
69                               Ptfs.; D's; RJN                     Dec of Nessier; 710-12
70                               Ptfs.; D's                          Resp to SROGS (W); 713-742
71                               Ptfs.; D's                          Resp to SROGS (H); 743-73




                                                 2
                                                    Case 3:21-cv-02560-LB Document 172 Filed 09/28/23 Page 8 of 8




                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                       On September 28, 2023, I served the within document(s) described as:
                                              5   DEFENDANT SETERUS, INC.’S PRE-TRIAL DISCLOSURES PURSUANT TO
                                                  FRCP 26(A)(3) on the interested parties in this action:
                                              6
                                                        by transmitting via electronic mail the document(s) listed above to the email
                                              7   addresses provided by counsel.
                                              8
                                                         Name & Address              Telephone / Fax / E-mail               Role
                                              9     Shapero Law Firm, P.C.         Tel: (415) 273-3504             Attorney for Plaintiffs
                                                    100 Pine Street, Ste 530       Fax: (415) 358-4116             Timothy S. Bostwick
                                             10     San Francisco, CA 94111        Email:                          and Michele L. Nessier
                                                                                   sarah@shaperolawfirm.com
                                             11
                                                    Michael R. Brooks, Esq.        Tel: (702) 385-2500             Attorney for Plaintiffs
                                             12     Hutchison & Steffen, PLLC      Fax: ***                        Timothy S. Bostwick
                                                                                   Email:                          and Michele L. Nessier
                A Professional Corporation




                                                    Peccole Professional Park
THE RYAN FIRM




                                             13                                    mbrooks@hutchlegal.com
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                                                    Las Vegas, Nevada 89145
                                             15
                                             16     Ghidotti Berger LLP            Tel: (949) 427-2010             Attorneys for
                                                    Rachel Witcher                 Fax: (949) 427-2732             Defendant SN
                                             17     1920 Old Tustin Ave.           Email:                          Servicing Corporation
                                                    Santa Ana, CA 92705            rwitcher@ghidottiberger.com     and US Bank Trust
                                             18                                                                    National Association
                                             19         CM/ECF (U.S. District Court, Northern District of California)—The NEF that is
                                             20         automatically generated by the Court’s Electronic Filing System constitutes
                                                        service of the filed document(s) on registered users. All parties who are not
                                             21         registered, if any, were served in the manner set forth above.
                                             22         (Federal) I declare that I am employed in the office of a member of the bar of this
                                                        Court at whose direction the service was made.
                                             23
                                                        Executed on September 28, 2023, at Irvine, California.
                                             24
                                             25
                                             26                                                     /s/ Rose Conway
                                                                                                    ROSE CONWAY
                                             27
                                             28


                                                                                        Proof of Service
